                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


JENNIFER REED, ET AL.                           )
                                                )
v.                                              )         NO. 3:18-cv-00819
                                                )         JUDGE RICHARDSON
YOUNG HO KIM, ET AL.                            )


                                               ORDER


        This case is set for a jury trial on October 22, 2019 beginning at 9:00 a.m. Counsel for

the parties shall appear for a Pretrial Conference in this Court on October 11, 2019 at 1:00 p.m.

All lawyers who will participate in the trial must attend the pretrial conference.

                                       Pretrial Filing Deadlines

        Counsel shall submit a Joint Proposed Pretrial Order to the Court by October 4, 2019. The

Pretrial Order shall contain: (1) a recitation that the pleadings are amended to conform to the

Pretrial Order and that the Pretrial Order supplants the pleadings; (2) a statement of the basis for

jurisdiction in this Court; (3) a short summary of the Plaintiff's theory (no more than one page);

(4) a short summary of the Defendant's theory (no more than one page); (5) a statement of the

issues, including a designation of which issues are for the jury and which are for the Court; (6) a

succinct statement of the relief sought; (7) a summary of any anticipated evidentiary disputes; and

(8) an estimate of the anticipated length of the trial.

        The parties shall also submit to the Court, by October 4, 2019 the following:

        (1) joint proposed jury instructions and verdict forms as follows: Counsel shall exchange

proposed jury instructions on the substantive law of this specific case and proposed verdict forms

and confer to reach agreement. Thereafter, counsel shall jointly prepare and file a set of agreed,




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proposed, case specific, jury instructions and verdict forms. Each proposed jury instruction shall

include citations to supporting authorities. Counsel shall separately file any disputed jury

instructions or verdict forms.

       (2) witness lists, except for witnesses solely for impeachment in accordance with Fed. R.

Civ. P. 26(a)(3);

       (3) exhibit lists, except for documents solely for impeachment in accordance with Fed. R.

Civ. P. 26(a)(3). Plaintiff’s exhibits shall be premarked as “P-1, P-2,” etc. Defendant’s exhibits

shall be premarked as “D-1, D-2.” The authenticity of exhibits should be stipulated to if at all

possible. Failure to include an exhibit on this exhibit list will result in its not being admitted into

evidence at trial, except upon a showing of good cause; and

       (4) any stipulations.

                           Motions in Limine and Objections to Experts

       By September 27, 2019, the parties shall file any motions in limine and any motions

objecting to expert testimony. Any responses to such motions shall be filed by October 4, 2019.

                                 Information Exchanged but Not Filed

       By September 27, 2019, the parties shall exchange copies of exhibits and make available

for examination by any opposing party the original of all exhibits. By this same date, the parties

shall exchange designations of portions of depositions to be read into evidence during the case in

chief. The parties should attempt to agree on additions to the designations necessary to put

responses into context.

                                          Discovery

       Expert witness disclosures shall be made timely, in accordance with Local Rule

39.01(c)(5)(C). Supplemental responses to interrogatories, requests for production and requests




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for admissions shall be made timely in accordance with Local Rules 39.01(e). Objections to the

use of a deposition at trial shall be made timely in accordance with Local Rule 39.01(c)(4).The

Court may exclude evidence, or order other sanctions, for violation of a duty or deadline to make

or supplement expert witness disclosures or discovery responses.

                                        Pretrial Conference

       Counsel shall be prepared, at the Pretrial Conference, to:

       (1) identify and discuss undisputed facts and issues;

       (2) discuss the status of discovery;

       (3) preview proposed testimony;

       (4) discuss expert testimony;

       (5) preview proposed exhibits;

       (6) discuss motions in limine;

       (7) discuss proposed jury instructions and verdict forms;

       (8) discuss settlement; and

       (9) discuss any need for possible pretrial briefs.

       IT IS SO ORDERED.


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                                                      ELI RICHARDSON
                                                      UNITED STATES DISTRICT JUDGE




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